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                      UNITED STATES DISTRICT COURT
                      SOUTHERN DISTRICT OF GEORGIA
                           BRUNSWICK DIVISION

UNITED STATES OF AMERICA                 )
                                         )       CR 218-14
V.                                       )
                                         )
ANDREW JACKSON                           )

                  GOVERNMENT'S VOIR DIRE QUESTIONS

      The United States of America, by and through Bobby L. Christine, United

States Attorney for the Southern District of Georgia, hereby requests that the

following questions be asked of prospective members of the jury in addition to those

questions that are included on the standard jury questionnaire:

      1.     Does any juror know Andrew Jackson, or know any of his relatives? If

yes, please explain the circumstances.

      2.     Does any juror know defense counsel, Mark J. O’Brien, or his law firm,

O’Brien Hatfield? If yes, please explain the circumstances.

      3.     Does any juror know any of the co-defendants named in the indictment:

John Eugene Overcash, Kenneth Leon Bradley, Jeremy McIntyre, Richard Carter,

Darrius Merrell, Keneil King, Jessica Tabuteau, Troy Crosby, Amy Manson, Edrin

Temple, Anthony Bernard Lewis, Joseph Simmons, Tommy Murray, Clifton Foster,

or Marcus Mungin? If yes, please explain the circumstances.

      4.     Has any juror, close friend, or relative been accused of a crime, been

arrested, or prosecuted by federal, state, or local authorities? If yes, please identify

the person, when this occurred, what the charges were, and whether you believe the


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person was treated fairly. Because of that, do you feel you are predisposed toward or

against either side in the trial beginning today?

      5.     Does any member of the jury panel believe the federal government

spends too much time or money investigating and prosecuting drug-related crimes?

      6.     Does any member of the jury panel feel that the possession and

distribution of cocaine, or crack cocaine, or marijuana should be legal on a federal or

state level? If yes, would you have any difficulty following the Judge’s instruction

regarding the illegal possession and distribution of a controlled substance?

      7.     Does any member of the jury panel feel there should be no laws against

using drugs such as cocaine, crack cocaine, or marijuana?

      8.     Has any juror or juror’s family member died or been hospitalized

because of a drug overdose?

      9.     Has anyone here, a member of your immediate family, or a close friend

ever been arrested or charged with a drug related crime?

      10.    Has any member of the jury panel formed opinions about federal, state

or local law enforcement agents that would affect his or her ability to be fair and

impartial during the trial or this case?

      11.    Has anyone here, a member of your immediate family, or a close

personal friend ever had a bad experience with our criminal justice system? That is

to say, do you feel you were treated unfairly by a police officer, by a prosecutor, or by

a judge?

      12.    Has anyone ever served on a grand jury or trial jury? If a trial jury, was



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it a criminal case or a civil case? Were you a foreperson on the jury? Did the jury

reach a verdict?

      13.    Does any member of the jury panel hold personal beliefs or religious

beliefs which would make it difficult or impossible for him or her to sit in judgment

over someone charged with a crime?

      14.    Does any member of the jury panel have any medical reason, or other

reason why he or she should not be on this jury?

      15.    Do you believe that you can judge this case without being influenced by

any sympathy for the defendant?

      16.    If you are selected as a juror, and after hearing the evidence in this case

you are convinced that the defendant is guilty beyond a reasonable doubt, are you

willing to vote to convict the defendant?

      This 22nd day of January 2019.

                                        Respectfully submitted,

                                        BOBBY L. CHRISTINE
                                        UNITED STATES ATTORNEY

                                        BOBBY L. CHRISTINE
                                        UNITED STATES ATTORNEY

                                        /s/ E. Greg Gilluly, Jr.

                                        E. Greg Gilluly, Jr.
                                        Assistant United States Attorney
                                        Tennessee Bar No. TN019397

                                        /s/ Matthew A. Josephson
                                        Matthew A. Josephson
                                        Assistant United States Attorney
                                        Georgia Bar No. 367216


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                            CERTIFICATE OF SERVICE

       This is to certify that I have on this day served all the parties in this case in

accordance with the notice of electronic filing (ANEF@) which was generated as a result

of electronic filing in this Court.

                                        Respectfully submitted,

                                        BOBBY L. CHRISTINE
                                        UNITED STATES ATTORNEY

                                        /s/ Matthew A. Josephson
                                        Matthew A. Josephson
                                        Assistant United States Attorney
                                        Georgia Bar No. 367216

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